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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BRENDA BROWN,                                         )
                                                      )
        Plaintiff,                                    )
                                                      ) Civil Action No. 16-cv-11152
vs.                                                   )
                                                      )
KELLY SERVICES, INC.                                  ) Judge Marvin E. Aspen
                                                      )
        Defendant.                                    )

                     PLAINTIFF’S OBJECTIONS TO THE DEFENDANT’S
                            PROPOSED JURY INSTRUCTIONS

        Pursuant to the Court’s order entered August 28, 2017 (Docket No. 39), the Plaintiff,

Brenda Brown, submits the following objections to the Defendant Kelly Services, Inc. Proposed

Jury Instructions (Docket No. 41).

1)      Objection to Defendant’s Proposed Jury Instruction No. 1: Cautionary Instruction
        on Reasonableness of Defendant’s Action

        The Plaintiff objects to the Defendant’s Proposed Jury Instruction No. 1 because it

misstates the law under the facts on the case and could easily confuse the jury. Specifically, the

instruction cautions the jury “not to concern yourselves with whether the Defendant’s actions

were wise, reasonable, or fair. Rather, your concern is only whether Plaintiff has proved that

Defendant ended Plaintiff’s assignment because of her complaint of racial discrimination against

African American applicants.” This instruction is contrary to Joint Proposed Jury Instruction No.

1.08 which requires the jury to concern themselves with all of the evidence. It is through all of

the evidence presented, including the Defendant’s attempts to cover-up its actions, which permit

the jury to infer a retaliatory motive. See, Appelbaum v. Milwaukee Metropolitan Sewerage


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District, 340 F.3d 573, 579 (7th Cir. 2003)(Although court is not a super-personnel department

that sits in judgment of the wisdom of the employer’s decision, the jury is entitled to infer from

all of the evidence whether the reason given for the adverse action was a cloak for

discrimination)

        Here, the Plaintiff will present evidence showing that the Defendant’s reasons for ending

her assignment (budget cuts and lack of work) are unreasonable, implausible, and unworthy of

credence. This is circumstantial evidence that is probative of intentional discrimination. Reeves

v. Sanderson Plumbing Products, 530 U.S. 133, 147 (2000) The cautionary instruction offered by

the Defendant, however, improperly instructs the jury not to concern themselves with this

circumstantial evidence. Such an instruction is not only confusing given Joint Proposed Jury

Instruction No. 1.08, it is extremely prejudicial to the Plaintiff because it instructs the jury to

ignore her evidence and the inferences drawn from that evidence. Consequently, the Defendant’s

Proposed Jury Instruction No. 1 must be denied.

2)      Objection to Defendant’s Proposed Jury Instruction No. 2:
        Plaintiff’s Claim – Retaliation

        The Plaintiff objects to the Defendant’s Proposed Jury Instruction No. 2 because it

improperly deviates from the pattern instruction for retaliation claims contained in 3.02 of the

Pattern Civil Jury Instruction for Employment Discrimination for the Seventh Circuit. That

pattern jury instruction focuses on causation generally. Specifically, both parties agree on using

the causation language from the pattern instruction, which provides that the jury must find:

        “the Defendant would not have ended Plaintiff’s assignment on July 1, 2016 if she
        had not complained about race discrimination against African American
        applicants but everything else had been the same.”



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See, Plaintiff’s Proposed Instruction No. 2, Third Paragraph and Defendant’s Instruction No. 2,

Fourth Paragraph. The Defendant, however, injects the following additional element into the

pattern instruction:

       Third, that the person or persons who made the decision to end Plaintiff’s
       assignment had actual knowledge of her complaint about race discrimination
       against African American applicants

       This is superfluous language to the pattern instruction on retaliation because the causation

element implicitly includes the jury finding that the person who was responsible for the decision

to end the Plaintiff’s assignment had knowledge of her discrimination complaint. What the

defendant, however, is seeking to do with the additional language is to draw an undue focus on

one aspect of causation which is best left to argument of counsel. Indeed, as pointed out in

Schandelmeier-Bartels v. Chicago Park District, 634 F.3d 372 (7th Cir. 2011) when affirming

the court’s denial of a “cat’s paw” instruction, “[i]t is not necessary to instruct the jury about the

intricacies of various doctrines the courts have developed for digesting summary judgment

motions in employment discrimination cases. The court may and should simply ask the jury the

counter-factual question, and the parties may argue whether, for example, the plaintiff's race

made the critical difference, regardless of which of the employer's agents made or influenced the

decision, or exactly how they did so.” Schandelmeier-Bartels, 634 F.3d at 380-81

     As in Schandelmeier-Bartels, the jury must answer the ultimate question of whether “the

Defendant would not have ended Plaintiff’s assignment on July 1, 2016 if she had not

complained about race discrimination against African American applicants but everything else

had been the same.” The parties are left to argue over who was ultimately responsible for making

the decision to terminate Brown and whether the evidence supports a reasonable inference that


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that person had knowledge of her complaint based on all of the circumstantial evidence. How the

jury determines that causation question, therefore, depends on how it views numerous pieces of

evidence presented and argued by counsel.

       The Plaintiff’s Proposed Jury Instruction No. 2 on Retaliation accurately reflects the law

based on the facts of the case. There is no reason to deviate from that pattern instruction.

Accordingly, the Defendant’s Proposed Jury Instruction No. 2 must be denied.

                                                              Respectfully submitted,

                                                              BRENDA BROWN

                                                              By:/s/ Marshall J. Burt
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                                 CERTIFICATE OF SERVICE


I hereby certify that on October 4, 2017, I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system which will send notification of this filing to the

following attorneys of record:

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